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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


DERRICK HALE,

                                Plaintiff,

               vs.                                          Civil Case No. 13-2650

COMMUNITY HEALTH CENTER OF
SOUTHEAST KANSAS, INC.;
BRENDA BRENNAN, ARNP;
VIA CHRISTI HOSPITAL PITTSBURG, INC.;
and TIMOTHY D. STEBBINS, MD,

                                Defendants.


                                      NOTICE OF REMOVAL

       The United States of America files this Notice of Removal of the hereinafter mentioned

action from the District Court of Crawford County, Kansas, Case No. 13 CV 100P, to the United

States District Court for the District of Kansas pursuant to 28 U.S.C. §§ 1346(b)(1); 1441(a);

1446(a); 2679(d)(2); and 42 U.S.C. § 233(a) and (c).

       1.      The United States of America removes this action by authority of the Attorney

General of the United States.

       2.      Community Health Center of Southeast Kansas, Inc. (“CHC of SEK”) and Brenda

Brennan, ARNP, have been named as defendants in a civil action pending in the District Court of

Crawford County, Kansas, captioned Derrick Hale v. Community Health Center of Southeast

Kansas, Inc., Brenda Brennan, ARNP, Via Christi Hospital Pittsburg, Inc., and Timothy D. Stebbins,

MD, and numbered 13 CV 100P.
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        3.       A copy of the Petition is attached hereto, marked as Exhibit A, and incorporated as

a part of this Notice by reference.

        4.       Pursuant to the Federal Supported Health Centers Assistance Act of 1995,

(“FSHCAA” or “the Act”), codified at 42 U.S.C. § 233, the remedy against the United States

provided by sections 1346(b) and 2672 of Title 28 for damage for personal injury, including death,

resulting from the performance of medical, surgical, dental and related functions by any employee

of the Public Health Service is exclusive of any other civil action or proceeding against the employee

whose act or omission gave rise to the claim. This “FTCA” coverage is applicable to deemed entities

and their officers, governing board members, employees, and contractors who are physicians or other

licensed or certified health care practitioners.

        5.       CHC of SEK has been deemed to be an entity of the Federal Government for the

purposes of the Act and at the times relevant to Plaintiff's Petition, Brenda Brennan, ARNP was an

employee of CHC of SEK determined to be acting within the scope of her employment.

        6.       The United States Attorney for the District of Kansas, Barry R. Grissom has certified

that Brenda Brennan, ARNP was acting within the course and scope of her employment at all times

relevant to the allegations in Plaintiff's Petition. Exhibit B. Pursuant to 28 C.F.R. § 15.3, the

Attorney General has delegated to the United States Attorney, the authority to make such

certification.

        7.       28 U.S.C. § 2679, as amended by the Federal Employee Liability Reform and Tort

Compensation Act of 1988 and 42 U.S.C. § 233(a) provide that the remedies provided by 28 U.S.C.

§ 1346(b) and 2672 of title 28 shall be the exclusive remedy for injury or loss of property arising

from actions taken by federal employees (including employees of the Public Health Service) within

the scope of their employment. When a claim for injury or loss of property is based upon the action
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of an employee taken with the scope of his or her employment, a claim against the individual is

precluded and the sole remedy, if any, lies against the United States.

          8.     The United States, pursuant to Title 28 U.S.C. §§ 1441 and 1446(d), has the right,

at its election and without bond, to remove said action from the District Court of Crawford County,

Kansas, to the United States District Court for the District of Kansas and does elect to remove said

action.

          WHEREFORE, the United States of America, respectfully submits notice that Case No. 13

CV 100P, pending in the District Court of Crawford County, Kansas, is hereby removed from that

Court to the United States District Court for the District of Kansas.

                                                      Respectfully submitted,

                                                      BARRY R. GRISSOM
                                                      United States Attorney
                                                      District of Kansas

                                                       s/ T.G. Luedke
                                                      T.G. LUEDKE
                                                      Assistant United States Attorney
                                                      Ks. S.Ct. No. 12788
                                                      Federal Building, Suite 290
                                                      444 S.E. Quincy Street
                                                      Topeka, Kansas 66683-3592
                                                      Telephone: (785) 295-2850
                                                      Facsimile: (785) 295-2853
                                                      E-mail: tom.luedke@usdoj.gov
                                                      Attorneys for the CHC of SEK and Brennan
